           Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 1 of 65



                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW HAMPSHIRE


                                             )
Sarah A. Katz, both Individually and as      )
       Administratrix of the Estate of       )                              Civil Action No. ________________
       Chevy Katz, f/k/a Chevy Wilde,        )
                                             )
        Plaintiff,                           )
                                             )
v.                                           )                             COMPLAINT FOR DAMAGES
                                             )                             AND DEMAND FOR JURY TRIAL
Michael J. O’Connell, M.D.,                  )
Nita Grover, M.D.,                           )
Hugh Cochran, APRN, CRNA,                    )
Michael J. O’Connell d/b/a Paincare Centers, )
Michael J. O’Connell d/b/a Dr. O’Connell’s   )
   Pain Care Center,                         )
Dr. O’Connell’s Pain Care Centers, Inc.,     )
Dr. O’Connell’s Pain Care Centers, Inc.,     )
    a/k/a Pain Care Centers, Inc.,           )
                                             )
        Defendants.                          )
                                             )
__________________________________________)


       NOW COMES the Plaintiff, Sarah A. Katz, both Individually and as Administratrix of

the Estate of Chevy Katz, f/k/a Chevy Wilde, by and through her attorneys, Rilee & Associates,

P.L.L.C., and respectfully submits the following Complaint for Damages and Demand for Jury

Trial, stating in support thereof as follows:

                                            TABLE OF CONTENTS

I.       INTRODUCTION…. ..................................................................................................... 3

II.      JURISDICTION AND VENUE ..................................................................................... 6

III.     PARTIES………………………………………………………………………………. 8

IV.      FACTUAL BACKGROUND…………………………………………………………10



                                                             1
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 2 of 65



A.     The Conigliaro Family Businesses ............................................................................... 10

        1. Conigliaro Industries’ Recycling Plant .................................................................. 10

        2. Gregory Conigliaro, Barry Cadden, and Douglas Conigliaro founded NECC. ...... 13

B.      Background on Compounding Pharmacies ................................................................... 14

C.      The Risks of Pharmacy Compounding .......................................................................... 15

D.     Meningitis ...................................................................................................................... 16

E.      The Outbreak and Its Aftermath .................................................................................... 17

F.      FDA and MDPH Begin Investigating NECC. ............................................................... 18

G.     NECC Surrenders Its Pharmacy License and Recalls All of Its Products. ................... 20

H.     FDA and Massachusetts Board of Pharmacy’s Findings. ............................................. 21

I.     MDPH’s Preliminary Findings. ...................................................................................... 21

J.     FDA’s Initial Findings and Form 483 Report................................................................. 23

K.     The Investigation Grows ................................................................................................ 26

       1.    FDA Confirms Other NECC Products Are Contaminated. .................................... 26

       2.    Board of Pharmacy Revokes Cadden, Chin and Conigliaro Pharmacy .................. 26

L.     Subsequent Litigation ..................................................................................................... 26

V.     FACTUAL ALLEGATIONS… ..................................................................................... 27

VI.    GENERAL ALLEGATIONS...........................................................................................37

VII.   CAUSES OF ACTION ....................................................................................................39

       COUNT I – NEGLIGENCE AND GROSS NEGLIGENCE AS PERMITTED
       IN THE MDL ...................................................................................................................39

       COUNT II – MEDICAL NEGLIGENCE ........................................................................45

       COUNT III – VIOLATION OF NEW HAMPSHIRE PATIENT’S BILL OF
       RIGHTS N.H.R.S.A. 151:21 ............................................................................................47



                                                                 2
             Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 3 of 65



         COUNT IV – NEGLIGENCE PER SE (DIRECT LIABILITY) .....................................48

         COUNT V – RECKLESS INFLICTION OF EMOTIONAL DISTRESS – ENHANCED
         DAMAGES ......................................................................................................................49

         COUNT VI – NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS...................51

         COUNT VII – WILLFUL AND KNOWING VIOLATION OF CONSUMER
         PROTECTION ACT (N.H.R.S.A. 358-A:1 et seq.) .......................................................52

         COUNT VIII – FAILURE TO WARN ............................................................................58

         COUNT IX – PRODUCT LIABILITY CLAIMS ...........................................................59

         COUNT X – NEGLIGENT MISREPRESENTATION ...................................................62

         COUNT XI – BREACH OF CONTRACT ......................................................................63

         COUNT XII – LOSS OF CONSORTIUM …………………………………………….64

VIII.    PRAYER FOR RELIEF .................................................................................................. 64

IX.      JURY DEMAND ............................................................................................................ 65

                                               I.        INTRODUCTION

        1.        Beginning in 2012, a widespread outbreak of fungal meningitis in more than 20

states has now caused scores of deaths as of the time of the filing of this Complaint. At a

minimum, over 750 people have been diagnosed with serious illnesses. This preventable

outbreak originated from medication which was improperly compounded, sterilized, tested,

packaged, marketed, labeled, and distributed by the now bankrupt New England Compounding

Pharmacy, Inc. d/b/a “New England Compounding Center”(“NECC”). The medication was then

acquired, dispensed, prescribed and administered by the various defendants named herein.

        2.        The United States Food and Drug Administration (“FDA”) and the Centers for

Disease Control and Prevention (“CDC”) have confirmed the presence of fungus in unopened

vials of NECC’s methylprednisolone acetate (“MPA”). The FDA and CDC have also identified



                                                                  3
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 4 of 65



bacteria and/or fungus present in NECC-supplied preservative-free injectable betamethasone,

preservative-free triamcinolone, and cardioplegia solution. Some of the contaminants identified

in these products are known to cause human disease.

       3.      Multiple vials of MPA, along with other medications compounded at the NECC

facilities, were recalled, but the recall was too late for the Plaintiff, and for many others who

suffered serious and catastrophic injuries or death from one of the largest iatrogenic epidemics in

United States history.

       4.      No one disputes that the contaminated products that caused these horrific injuries

were made by NECC. No one seriously disputes that the deplorable conditions at NECC

contributed to this outbreak. But the story does not begin or end with NECC: multiple actors

contributed to the chain of events that led to this tragedy.

       5.      Not one person would have developed a fungal infection if hospitals, clinics,

healthcare facilities, and/or physicians had not given these contaminated medications to patients.

Apparently around 75 hospitals, clinics, healthcare facilities and/or physicians in at least 20

states injected patients with contaminated drugs from NECC. These clinics ordered these

medications (often with fake or no patient names), purchased the contaminated medications,

received the contaminated medications, stored the contaminated medications, and injected the

contaminated medications into patients – often dozens of patients. Clinics often disregarded the

prevailing industry guidelines and pharmacy regulations requiring individual medications to be

compounded in response to receiving a prescription for a particular patient. Clinics did so out of

convenience and greed: ordering large doses of injectable steroids in bulk allowed them to stock

their shelves without going through the “hassle” (but really safeguard) of identifying particular




                                                  4
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 5 of 65



patients who would receive the drug. And NECC’s price for MPA was, generally, lower than the

prices for brand name methylprednisolone acetate (DepoMedrol) manufactured by Pfizer.

       6.      A multidistrict litigation (“MDL”) is currently pending in the United States

District Court-District of Massachusetts (In Re: New England Compounding Pharmacy, Inc.

Products Liability Litigation, Case No: 1:13-md-2419-FDS). The Court has appointed a

Plaintiffs’ Steering Committee (“PSC”) to guide the MDL proceeding.

       7.      This Complaint does not include allegations against NECC, and other related

parties, Ameridose LLC, Alaunus Pharmaceuticals, Inc., Medical Sales Management, Inc.,

Medical Sales Management SW, Inc., GDG Holdings, Barry Cadden, Lisa Conigliaro Cadden,

Doug Conigliaro, Carla Conigliaro, Greg Conigliaro, or Glenn Chin (hereafter “Affiliated

Defendants”), nor does it name entities that have agreed to mediation pursuant to the Court’s

Order on mediation (Document 502) filed within the MDL proceedings. Plaintiff reserves the

right to amend this Complaint to add allegations and claims against individuals or entities

currently omitted and to add or amend allegations against Defendants named herein based, in

part, on further discovery

       8.      On December 21, 2012, NECC filed a petition for Bankruptcy protection under

Chapter 11 of the Bankruptcy Code: In re: New England Compounding Pharmacy, Inc., Debtor,

United States Bankruptcy Court for the District of Massachusetts Case no. 12:19882 HJB. A

United States Trustee was subsequently appointed to administer the Bankruptcy Estate.

       9.      This Complaint also does not include claims against UniFirst Corporation,

UniFirst Corporation d/b/a UniClean Cleanroom Services (“Unifirst”) or Liberty Industries, Inc.

as these entities have entered into settlement in connection with the proposed bankruptcy plan in

NECC’s bankruptcy, and statutes of limitations have been tolled against some of those



                                                5
              Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 6 of 65



defendants, allegations concerning those defendants remain in the Second Amended Master

Complaint filed in the MDL as outlined above.

        10.      Decedent Chevy Katz, f/k/a Chevy Wilde was injected and administered

contaminated and tainted MPA 1, and/or the injection/administration was or should have been

supervised by, Michael J. O’Connell, M.D., Nita Grover, M.D., and/or Hugh Cochran APRN,

CRNA, Michael J. O’Connell d/b/a PainCare Centers, Michael J. O’Connell d/b/a Dr.

O’Connell’s Pain Care Center, Dr. O’Connell’s Pain Care Center, Dr. O’Connell’s Pain Care

Centers, Inc., Dr. O’Connell’s Pain Care Centers, Inc. a/k/a Pain Care Centers, Inc., and/or Pain

Care Centers (collectively the “O’Connell Defendants”).

        11.      Plaintiff seeks compensatory, enhanced, and exemplary damages, and all other

available remedies as a result of injuries caused by the contaminated MPA, including death of

Decedent Chevy Katz, f/k/a Chevy Wilde, and her loss of consortium individually. Plaintiff

makes the following allegations based upon her personal knowledge and upon information and

belief, as well as upon her attorneys’ investigative efforts.

                                II.      JURISDICTION AND VENUE

        12.      This Court has subject matter jurisdiction over the parties pursuant to 28 U.S.C.

§1334(b) because, as described herein, each claim asserted is related to a pending bankruptcy

previously filed by NECC as referenced in paragraph 8, a case under Title 11, and the outcome of

this proceeding could have some effect on the Bankruptcy Estate.

        13.      Plaintiff, through Decedent Chevy Katz, f/k/a Chevy Wilde, filed the required Proof

of Claim Form and PITWD Addendum (Personal Injury or Wrongful Death Claim Information

Form) in the pending Bankruptcy action referred to in paragraph 8 above.


1
 Decedent was also injected with Triamcinolone which, while discovery is ongoing, upon information and belief,
was manufactured by NECC and was potentially contaminated as well.

                                                       6
              Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 7 of 65



        14.      The O’Connell Defendants have not, upon information and belief, filed claims in

the bankruptcy proceedings.

        15.      Upon information and belief, NECC has express contractual indemnification

obligations with other NECC related parties including, Barry Cadden, Gregory Conigliaro, Lisa

Cadden, Carla Conigliaro, Douglas Conigliaro, Glen Chin, GDCMSM and MSMSW (“Related

Parties”). Some, if not all of the aforementioned individuals and entities are insured under NECC

insurance policies. NECC and the Related Parties all have contribution, indemnification, and/or

other reimbursement claims against each other.

        16.      Adversary proceedings seeking recovery of damages for the benefit of the

Bankruptcy Estate and its unsecured creditors have been filed in the NECC bankruptcy against

several of the related parties.

        17.      Lawsuits alleging death or injury based on contaminated MPA have been filed

around the country. On February 12, 2013, the Judicial Panel on Multidistrict Litigation (MDL

No. 2419) issued an order under 28 U.S.C. § 1407 transferring various federal-court proceedings

to the United States District Court for the District of Massachusetts for coordinated or

consolidated pre-trial proceedings (“MDL Court”). The transferred actions are pending in the

MDL Court in the Multi-District Litigation action titled In re: New England Compounding

Pharmacy Inc., Products Liability Litigation, United States District Court District of

Massachusetts, MDL No. 1:13-md-2419-FDS. The transferred cases have been assigned to the

Honorable Rya W. Zobel, United States District Judge, for pre-trial proceedings and

coordination. This case is a related case to those cases transferred to the MDL Court and, subject

to transfer per order of the MDL Court relating to transfer of cases, related to the NECC MDL

and Chapter 11 Bankruptcy.



                                                 7
             Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 8 of 65



       18.      Venue is proper under 28 U.S.C. § 1391, as a substantial amount of activity

giving rise to the claims occurred in this District.

       19.      Venue lies initially in this District Court as Plaintiff and defendants are citizens

of New Hampshire and reside or are headquartered in this District, and this court has in

personam jurisdiction over all defendants under the jurisdictional laws of New Hampshire based

on the circumstances plead below.

                                           III.     PARTIES

                                                  Plaintiff

       20.      Plaintiff Sarah A. Katz, is a citizen and resident of the State of New Hampshire,

is Administratrix of the Estate of Chevy Katz, f/k/a Chevy Wilde, her husband, and resides in

Portsmouth, New Hampshire 03801. Decedent Chevy Katz, f/k/a Chevy Wilde (hereinafter

“Decedent”) suffered injury, distress, and death as a direct and proximate result of being injected

with and administered the contaminated and tainted MPA and potentially contaminated

Triamcinolone on one or more occasions, beginning on or about July 10, 2012 while a patient of

the O’Connell Defendants. Plaintiff individually has suffered loss of consortium related to the

injury, distress, and death of Decedent.

                                        The O’Connell Defendants

       21.      The CDC has identified the O’Connell Defendants as having received recalled

lots of MPA from NECC.

       22.      Dr. O’Connell’s Pain Care Centers, Inc. and Dr. O’Connell’s Pain Care Centers,

Inc. a/k/a Pain Care Centers, Inc. are New Hampshire corporations with an address of 255 Route

108, Somersworth, County of Strafford, New Hampshire 03878.




                                                     8
             Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 9 of 65



       23.      Defendant Michael J. O’Connell, M.D. (hereinafter “O’Connell”) is a citizen and

resident of New Hampshire and held himself out to be a physician licensed to practice medicine

in the State of New Hampshire, and as being a skilled and knowledgeable physician engaged in

the practice of medicine and in particular, in the specialties of anesthesiology and pain medicine.

O’Connell, at all times material herein, was employed by, associated with and/or was an owner,

Chief Executive Officer (CEO), operator, supervisor, member or shareholder of the medical

practices and O’Connell Defendants known as Pain Care Centers, Dr. O’Connell’s Pain Care

Center, Dr. O’Connell’s Pain Care Centers, Inc. and Dr. O’Connell’s Pain Care Centers, Inc.

a/k/a Pain Care Centers, Inc. at 255 Route 108, Somersworth, New Hampshire, 03878. In or

about January 2012 O’Connell voluntarily surrendered his license to practice medicine in the

State of New Hampshire as a result of disciplinary proceedings commenced by the New

Hampshire Board of Medicine (In the Matter of Michael J. O’Connell, M.D., No. 7690). Upon

information and belief, and at all times relevant herein, O’Connell provided treatment to Plaintiff

and supervised and/or directed John Kane, APRN, CRNA.

       24.      Defendant Nita Grover, M.D. (hererinafter “Grover”) is a citizen and resident of

New Hampshire and a physician licensed to practice medicine in the State of New Hampshire,

holding herself out to the public as being a skilled and knowledgeable physician engaged in the

practice of medicine and in particular, in the specialties of anesthesiology and pain medicine.

Grover, at all times material herein, was employed by and/or associated with the medical

practices and O’Connell Defendants known as Pain Care Centers, Dr. O’Connell’s Pain Care

Center, Dr. O’Connell’s Pain Care Centers, Inc. and Dr. O’Connell’s Pain Care Centers, Inc.

a/k/a Pain Care Centers, Inc. at 255 Route 108, Somersworth, New Hampshire, 03878. Upon




                                                 9
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 10 of 65



information and belief, and at all times relevant herein, Grover provided treatment to Decedent

and supervised and/or directed Hugh Cochran, APRN, CRNA.

       25.     Defendant Hugh Cochran, APRN, CRNA (hereinafter “Cochran”) is a New

Hampshire resident and an Advanced Registered Nurse Practitioner who, upon information and

belief, is supervised by O’Connell and/or Grover and held himself out to the public as being

skilled and knowledgeable concerning the practice of medicine and in particular, in the

specialties of anesthesiology and pain medicine. Cochran, at all times material herein, was

employed by and/or associated with the medical practices and O’Connell Defendants as listed

above at 255 Route 108, Somersworth, New Hampshire, 03878. Cochran, under the supervision

of O’Connell and Grover, is the individual who injected Decedent with the tainted MPA on or

about July 10, 2012.

       26.     The O’Connell Defendants were responsible for procuring and administering

NECC Contaminated Drugs. Upon information and belief, the O’Connell Defendants injected or

administered the NECC Contaminated Drugs to Plaintiff. At all relevant times, the physicians,

staff, agents and employees of the above-named O’Connell Defendants were acting within the

course and scope of their employment and/or agency.

       27.     At all times relevant herein, the O’Connell Defendants treated patients for

consideration, including Decedent.

                             IV.     FACTUAL BACKGROUND

                            A. The Conigliaro Family Businesses.

                          1. Conigliaro Industries’ Recycling Plant.

       28.     In 1990, Gregory Conigliaro opened Conigliaro Engineering in an old industrial

building on Waverly Street in Framingham, Massachusetts. In 1991, the company incorporated



                                               10
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 11 of 65



under the new name Conigliaro Industries, Inc. and began recycling plastic, metal, glass, and

paper. It made money by converting detergent bottles into recycling bins, molded Styrofoam

lunch trays into flower pots, and plastic computer casings into pothole filler.

       29.      Early on, Gregory Conigliaro branched out into real estate, starting GDC

Holdings, Inc. and GDC Properties Management, LLC.

       30.      In April 2003, Conigliaro Industries opened the first U.S. commercial plant that

shreds and recycles mattresses, including polyurethane foam parts. The mattress recycling

operation was planned and developed by Tony Conigliaro, the Vice President of Engineering and

Gregory’s father. The company built a 2,500 square foot mattress shredding facility located next

to its 90,000 square foot plant on a seven acre parcel in Framingham. The company also

earmarked another 5,000 square feet of its main factory space for the venture and utilized its 30

docks for the operation.

       31.      Old used mattresses from schools, prisons, and hospitals are put through a giant

shredder that separates the polyurethane foam from the springs and wood frame and bales the

foam. Gregory Conigliaro claimed that the company (Nationwide Foam, Inc., 703 Waverly Street,

Framingham, Massachusetts) could recycle mattresses at the rate of one each minute.

       32.      Conigliaro Industries touted itself as a pioneer in the field of “Total Recycling” and

recycles over 150 different materials, including rubber, plastics, and metal. The business operates

out of an 88,000 square foot facility located at 701 Waverly Street, in the large Framingham

complex owned by Gregory Conigliaro’s real estate companies, GDC Holdings, Inc. and/or

GDC Properties Management, LLC. The Framingham Board of Health has received a number

of complaints about the mounding trash piles tucked behind the Waverly Street strip mall.




                                                 11
           Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 12 of 65



                                    Figure 1: Trash behind 701 Waverly Street3




“Sterility Found Lacking at Drug Site in Outbreak,” N.Y. TIMES (Oct. 23, 2012) (available at
http://www.nytimes.com/2012/10/24/health/sterility-found-lacking-at-drug-site-in-meningitis-
outbreak.html?pagewanted=all&_r=0),.


                                  Figure 2: Google Earth image of 701 Waverly St.




                                                       12
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 13 of 65



      2. Gregory Conigliaro, Barry Cadden, and Douglas Conigliaro founded NECC.

       33.      In 1998, well after the Conigliaro recycling facility and real estate companies

were up and running, the Conigliaro family branched out into pharmaceutical compounding.

Gregory Conigliaro’s sister, Lisa Conigliaro Cadden, and her husband, Barry Cadden, were both

pharmacists. Gregory Conigliaro and Barry Cadden co-founded New England Compounding

Pharmacy, Inc., known as New England Compounding Center (“NECC”). NECC opened in the

same Waverly Street building that housed the recycling plant and real estate businesses. Its front

door is immediately next to the front door to Nationwide Foam.

       34.      Another Conigliaro brother, Dr. Douglas Conigliaro, was an anesthesiologist with

substantial litigation in his past. He allegedly punctured a 64-year-old woman’s spine during a

1995 operation to insert a pump to deliver painkillers. The woman became paralyzed and died

two years later. The suit ultimately settled for $1 million and Douglas Conigliaro was fined

$10,000 by the Florida state medical board.

       35.      Douglas Conigliaro’s wife, Carla Conigliaro initially owned sixty-five percent

(65%) of NECC. Carla Conigliaro (a nurse) was originally listed as the company’s president.

Douglas Conigliaro was personally involved with NECC from the beginning and continued to be

involved until NECC shut its doors. Because of his previous legal troubles, he was careful to

conceal his involvement. He also ordered others at NECC and the Affiliated Defendants to

conceal his involvement.

       36.      Barry Cadden ran NECC, typically wearing scrubs to work. Cadden held

positions as the President, Chief Pharmacist, and Director of NECC.

       37.      Gregory Conigliaro provided financial advice and usually wore a shirt and tie.

Lisa Conigliaro Cadden was a board member and worked as a pharmacist at NECC.



                                                13
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 14 of 65



                         B. Background on Compounding Pharmacies.

          38.   According to the FDA, traditional compounding is the extemporaneous

combining, mixing, or altering of ingredients by a pharmacist in response to a physician’s

prescription to create a medication tailored to the specialized needs of an individual patient.

Traditional compounding typically is used to prepare medications that are not available

commercially, such as a drug for a patient who is allergic to an ingredient in a mass-produced

product, or diluted dosages for children.

          39.   NECC’s webpage claimed compounding allows doctors to prescribe prescription

drugs that are “no longer manufactured, persistently backordered because of production

shortages, not commercially available in the dosage form the patient needs (e.g., preservative

free).”

          40.   In Massachusetts, compounding pharmacies must have a prescription for an

individual patient in order to create a drug.

          41.   Compounding pharmacies generally follow testing guidelines established by the

U.S. Pharmacopeia (USP), a nonprofit private group that develops standards of drug quality.

According to an industry group, the International Academy of Compounding Pharmacists,

adherence to the USP standards is expected. Some Massachusetts compounding pharmacies,

including Microtest Laboratories, typically test more than the number of samples required by the

USP standards to confirm sterility.

          42.   Compounding industry standards were created for pharmacists making small

batches of medicines for individuals, not for the commercial production of large batches.




                                                 14
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 15 of 65



                          C. The Risks of Pharmacy Compounding.

       43.     The serious risks of pharmacy compounding were the subject of considerable

public discussion in the pharmacy community and the medical community before the NECC

meningitis outbreak.

       44.     In 2002, the CDC published a report regarding at least two cases of fungal

meningitis arising from contaminated medication used in epidural injections. The report

concluded that “purchasers of pharmaceuticals should determine if supplies are provided from a

compounding pharmacy that . . . follows appropriate measures to ensure that injectable products

are free of contamination.”

       45.     On March 24, 2005, USA Today published a front page article with the following

headline: “Safety concerns grow over pharmacy-mixed drugs.” That article discussed growing

concern over the fact that drugs produced in bulk by compounding pharmacies are not FDA

approved and are not subject to the same oversight as drugs produced by pharmaceutical

companies.

       46.     In 2006, the FDA conducted a survey of compounded drug products. They

collected 36 samples from compounding pharmacies across the United States during

unannounced visits. Twelve of the 36 samples (33%) failed analytical testing. The FDA survey

concluded “poor quality compounded drugs are a serious public health concern, as improperly

compounded products have been linked to grave adverse events, including deaths.”

       47.     In May 2007, the FDA published an article titled: “The Special Risks of

Pharmacy Compounding.” That article highlighted numerous adverse events involving

compounded products. It also warned of the emergence of large scale compounding operations

that were clearly operating outside the bounds of traditional compounding practice.



                                               15
           Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 16 of 65



       48.      In 2010, the FDA posted an educational video on YouTube regarding concerns

over the quality of compounded drugs.

       49.      On November 5, 2010, the American Society of Anesthesiologists, the American

Society of Health-System Pharmacists (“ASHP”) and other medical societies published a joint

report regarding drug shortages. That report included an article written by the ASHP stating as

follows:

       Compounding pharmacies have also pursued the production of drugs that
       are in short supply. Caution is warranted because preparations from these
       pharmacies may not meet applicable state or federal standards (e.g.,
       United States Pharmacopeia chapter 797 or FDA labeling requirements).
       The sources of raw materials used by compounding pharmacies have been
       questioned, and apparent lapses in quality control have resulted in serious
       patient injury, including death.. . .Compounding pharmacies may also
       present patient risks; several deaths have been associated with improperly
       sterilized compounded products.

       50.      In May 2012, the CDC published a report regarding fungal infections arising

from medications obtained from a compounding pharmacy. That report advised that

“contamination of compounded sterile preparations has caused outbreaks. Since 1990, FDA has

learned of approximately 200 adverse events associated with 71 compounded products.”

                                          D. Meningitis.

       51.      Meningitis is an infection of the membranes covering the brain and spinal cord

(meninges). Primary symptoms include: fever, chills, altered mental status, nausea, vomiting,

sensitivity to light (photophobia), severe headache, and neck stiffness. Meningitis is typically

diagnosed by lumbar puncture (spinal tap) that collects spinal fluid (cerebrospinal fluid). The

fluid is then tested to determine the infection’s exact cause for an appropriate course of

treatment. When a lumbar puncture is not possible, a diagnosis may be presumed based on the

constellation of symptoms. Complications and risks from meningitis include: brain damage,



                                                 16
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 17 of 65



buildup of fluid between the skull and brain (subdural effusion), hearing loss, hydrocephalus,

and seizures.

       52.      Meningitis can be caused by several factors including bacteria, viruses, and

fungus. Fungal meningitis is rare and people with weak immune systems are at a higher risk of

contraction.

       53.      Meningitis is an infection that usually spreads through the blood to the spinal

cord. It is caused by the introduction of a bacteria, virus, or fungus into the central nervous

system or from an infected body site infection next to the central nervous system. Primary

symptoms include: fever, altered mental status, nausea, vomiting, sensitivity to light

(photophobia), headache, and stiff neck. Death may result from fungal meningitis.

       54.      The typical incubation period for contracting fungal meningitis from a tainted

steroid is one to four weeks after injection, though it can be far longer and symptoms can be mild

in nature. As with any variety of meningitis, it is important to perform a lumbar puncture (spinal

tap) to collect and test spinal fluid (cerebrospinal fluid) and determine the exact type of fungus

for an appropriate course of treatment. Appropriate laboratory tests may vary depending on the

type of fungus suspected. Treatment of fungal meningitis typically requires long courses of high

dose antifungal medications but treatment length can vary depending on the state of the immune

system and type of fungus.

                              E. The Outbreak and Its Aftermath.

       55.      On September 21, 2012, the CDC was notified by the Tennessee Department of

Health (“TDH”) of a patient with the onset of meningitis following an epidural steroid injection.

It was later determined that the patient had fungal meningitis.




                                                 17
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 18 of 65



        56.     On September 24, 2012 the TDH notified the Massachusetts Department of

Public Health (“MDPH”) about a cluster of six fungal meningitis cases with symptoms that

began between July 30 and September 18, 2012. These patients all received injections of

preservative-free MPA, compounded at NECC in Framingham, Massachusetts.

        57.     In September 2012, the TDH identified nine cases of fungal meningitis following

injection of MPA, compounded at NECC. All nine patients had received one or more injections

from three lots of MPA (lot numbers 05212012@68, 06292012@26, and 08102012@51).

                            F. FDA and MDPH Begin Investigating NECC.

        58.     The MDPH, Board of Registration in Pharmacy, and Bureau of Infectious

Diseases convened a multi-agency meeting with the TDH, the CDC, the FDA, and NECC. At the

demand of MDPH staff, Barry Cadden and Gregory Conigliaro provided documentation of

facilities that received medications from three lots of MPA suspected as linked to the fungal

infections. According to those lists, the suspected lots contained 17,676 doses and were

distributed in 23 states.

        59.     According to the CDC, Exserohilum rostratum has been identified as one of the

predominant pathogens in the multistate outbreak of fungal meningitis and other fungal

infections associated with contaminated MPA.

        60.     On September 26, 2012 NECC recalled three lots of preservative-free MPA: Lot

#05212012@68, BUD 11/17/2012; Lot #06292012@26, BUD 12/26/2012; and Lot

#08102012@51, BUD 2/6/2013. Approximately 3,000 doses were quarantined or returned

through recall. This meant that approximately 14,000 people received contaminated injections.

NECC faxed the recall notices to the facilities that had received the contaminated lots beginning

on September 26, 2012.



                                               18
           Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 19 of 65



         61.    On the same day, the MDPH began its investigation of NECC’s facility. When

MDPH arrived at NECC, investigators found NECC employees cleaning compounding areas and

conducting environmental testing. The investigators also detected signs of black contamination

in the compounding areas.

         62.    Before arrival of investigators, NECC had terminated many of its staff. After

September 26, 2012, the majority of NECC employees were no longer on site.

         63.    On October 1, 2012 MDPH and FDA began a joint investigation of NECC.

Investigators were shown examples of MPA products that were labeled as patient-specific.

However, NECC did not have individual prescriptions from specific clinics. As a result, upon

information and belief, NECC used lists of patients and/or orders generated by clinical facilities

and provided to NECC to obtain the product without individual, specific, or legitimate patient

names.

         64.    MDPH issued a formal Quarantine Notice pursuant to M.G.L. c. 94C §§13 and

189A, and M.G.L. c. 112 §§ 30 and 42A, in accordance with the CDC’s epidemiological work.

The Notice directs that all raw materials, all non-sterile and sterile products located at NECC

used in the compounding of MPA and all inventory on the premises prepared for dispensing and

stored at the pharmacy should be quarantined and not disposed of without MDPH’s approval.

         65.    MDPH and FDA observed visible black particulate matter in sealed vials of

purportedly sterile MPA returned to NECC. Inconsistencies in sterilization of processed

materials were identified through review of NECC’s records. The board voted to obtain a

Voluntary Surrender of NECC’s license or to initiate action to issue a Temporary Order of

Summary Suspension.




                                                19
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 20 of 65



         G. NECC Surrenders Its Pharmacy License and Recalls All of Its Products.

       66.      On October 3, 2012, NECC surrendered its pharmacy license in Massachusetts.

It ceased all production and initiated recall of all MPA and other drug products prepared for

injections in and around the spinal cord (known as intrathecal administration).

       67.      On October 5, 2012, MDPH and FDA investigators noted visible contaminants in

additional sealed recalled vials of MPA. MDPH and FDA issued a nationwide alert to providers

and facilities across the country, informing them about the particulate matter.

       68.      On or about October 5, 2012, the New Hampshire Board of Pharmacy, based on

the Massachusetts Board’s actions, suspended NECC’s Non-Resident Permit and scheduled a

hearing to determine whether or not NECC had engaged in professional misconduct contrary to

NHRSA 318:29, II and/or RSA 318:30-a, and/or Ph. 202.03(d).

       69.      On October 6, 2012 NECC, in conjunction with the FDA, CDC, and

Massachusetts Board of Registration in Pharmacy’s investigation, recalled all products currently

in circulation that were compounded at and distributed from its facility in Framingham,

Massachusetts “due to the potential risk of contamination.”

       70.      In NECC’s October 6, 2012 press release, NECC advised that it was “notifying

its customers of this recall by fax[,]” and that “[c]linics, hospitals and healthcare providers that

have product which is being recalled should stop using the product immediately, retain and

secure the product, and follow instructions contained in the fax notice.”

       71.      On or about October 14, 2012, NECC voluntarily surrendered its Non-Resident

Permit in the State of New Hampshire.




                                                  20
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 21 of 65



                        H. FDA, Massachusetts Board of Pharmacy’s Findings.

        72.     MDPH obtained documentary evidence (including photographs), reviewed and

obtained copies of NECC Standard Operating Procedures, made observational findings, reviewed

and obtained copies of all policies and procedures, reviewed batch records and interviewed

NECC staff. The FDA conducted product testing and took environmental samples of various

areas of the facility to test for contaminants.

        73.     From the beginning of their investigation, the MDPH and FDA identified

“serious deficiencies and significant violations of pharmacy law and regulations that clearly

placed the public’s health and safety at risk.” The FDA reported that it had detected fungal

contamination by microscopic examination of particulate matter taken from a sealed vial of MPA

collected from NECC. The FDA also noted that “foreign material” had also been observed in

other vials produced by NECC that were collected by FDA during an inspection. FDA further

stated that it was in the process of further identifying the fungal contaminant and conducting

microbial testing.

                                    I. MDPH’s Preliminary Findings.

        74.     On October 23, 2012, the MDPH released its preliminary investigation findings.

        75.     NECC distributed two of the recalled lots of MPA (preservative free) 80 MG/ML

before receiving results of sterility testing. Lot 06292012@26 was prepared on June 29, 2012.

Final sterility testing was completed on July 17, 2012. Two shipments of product were sent out

before the final sterility tests results were received. Lot 08102012@51 was prepared on August

10, 2012. Final sterility testing was completed on August 28, 2012. At least eleven shipments of

product were sent out before the final sterility test results were received. NECC’s records claim




                                                  21
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 22 of 65



that these sterility tests found no contamination, but the MDPH questioned whether NECC’s

sterility testing methods were adequate.

       76.      The MDPH observed visible black particulate matter in several recalled sealed

vials of MPA from Lot 08102012@51.

       77.      NECC did not follow either the proper USP 797 autoclaving sterilization

procedure or its own standards operating procedures. The MDPH noted NECC’s systemic failure

to keep products in the autoclave for the required minimum 20-minute sterilization period

necessary to ensure product sterility.

       78.      MDPH found that NECC distributed large batches of compound “sterile”

products directly to facilities apparently for general use rather than requiring a prescription for an

individual patient, in violation of its state pharmacy license.

       79.      NECC did not have patient-specific prescriptions from an authorized practitioner

when compounding and dispensing medication, as required by state law.

       80.      NECC did not conduct patient-specific medication history and drug utilization

reviews, as required by regulations.

       81.      The clean rooms used to compound the drugs were not appropriately sealed,

allowing contaminants to infiltrate the room, and exposing the drugs to contamination.

       82.      Powder hoods, intended to protect pharmacists from inhaling substances during

medication preparation within the sterile compounding area were not thoroughly cleaned

pursuant to USP 797 or pursuant to NECC standard operating procedures. Residual powder was

visually observed, which could lead to contamination of compounded medications.

       83.      “Tacky mats” used to trap dirt, dust, and other potential contaminants from shoes

prior to clean room entry were visibly soiled with debris, in violation of USP 797.



                                                  22
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 23 of 65



        84.     A leaky boiler next to the clean room created an environment susceptible to

contaminant growth, including a pool of standing water.

                           J. FDA’s Initial Findings and Form 483 Report.

        85.     On October 18, 2012, the FDA released definitive laboratory confirmation of the

presences of fungal contaminants in sealed vials of MPA in a suspect lot prepared by NECC.

        86.     On October 26, 2012, the FDA released a copy of the FDA Form 483 issued to

NECC. The FDA issues a 483 at the end of an inspection when the investigators believe that they

observed conditions or practices that indicate violations of the Food, Drug, and Cosmetic Act or

attendant regulations.

        87.     The FDA observed and has since confirmed contaminated products and listed a

number of observations regarding conditions in the Clean Room 2 at NECC’s Framingham

facility.

        88.     During an October 2, 2012 inspection, the FDA observed that approximately 83

vials of a bin of 321 vials of MPA from Lot #08102012@51 (shipped between August 17, 2012

and September 25, 2012) to contain a greenish black foreign matter. Seventeen vials from the

same bin contained white filamentous material.

        89.     The FDA’s sterility analysis of a sample confirmed the presence of “viable

microbial growth” in all of the 50 vials tested. One vial showed fungal morphological features.

        90.     The FDA reported that NECC’s formula worksheets state that the raw materials

used to create their drug products are sterile, NECC’s pharmacy director told the FDA that

NECC uses non-sterile active pharmaceutical ingredients (API) and non-sterile raw materials to

formulate preservative-free MPA, triamcinolone, and other injectable suspensions. The




                                                 23
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 24 of 65



inspection confirmed that the labeling for the MPA, API and other raw materials did not indicate

that they were sterile.

        91.     NECC claimed that its “steam autoclave cycle” “sterilized” suspensions

formulated with non-sterile materials. The FDA noted that NECC provided no documentation or

evidence that this autoclave procedure worked. In fact, the FDA reported tarnish, condensation,

and discoloration in the autoclaves. The FDA also observed puddles of water in the base of the

autoclave chamber.

        92.     The FDA also reported that on at least 26 occasions between January 2012 and

September 2012, NECC’s internal environmental monitoring program recorded bacteria and

mold in the clean rooms used to produce “sterile” drug products. This included at least 38

instances where the level of bacteria recorded was above the level where NECC was supposed to

take action (“action level” or “action limit”) and 18 instances where the level of mold reported

was above NECC’s action level. According to the FDA’s director of manufacturing and product

quality, an action limit is a threshold measurement of contamination “above what would

typically be seen in a controlled sterile environment.” Yet NECC took no action to investigate or

correct this bacterial and mold contamination:

                There was no investigation conducted by the firm when levels
                exceeded their action limits and there was no identification of
                the isolates. No documented corrective actions were taken to
                remove the microbial contamination (bacteria and mold) from
                the facility.

        93.     Some of the petri dishes used to grow microbes present in environmental samples

taken from windowsills, equipment, furniture, floors and other surfaces were “overflowing” with

bacteria or fungi in sheets “very visible to the naked eye.” The FDA also reported that samples

taken from inside the hoods used for compounding (also inside the ostensibly clean rooms)



                                                 24
           Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 25 of 65



between January and September 2012 showed at least eight instances of bacterial and/or mold

contamination. NECC did not investigate this contamination, did not identify the types of mold

or bacteria growing in their ostensibly sterile hoods, nor did it investigate the impact of this

contamination on any of the purportedly sterile products made in the hoods on the days the

samples were taken. “[NECC] has no evidence that any corrective actions were taken to prevent

contamination of the sterile drug products.”

        94.      The FDA also observed that a plastic and mattress recycling facility next door

produced dust and other airborne contaminants. NECC’s HVAC units on the roof were about

100 feet from the recycling facility. Inside NECC, the FDA observed that dark particulate and

white, filamentous substances covered the louvers of an HVAC return located behind the

autoclave in the clean room.

        95.      The FDA also observed that the air-conditioning in the clean rooms was turned

off overnight. This is not typical for a clean room, as temperatures need to be kept constant to

minimize microbial growth.

        96.      The FDA also observed that a boiler located within 30 feet of the entrance to one

of the “Prep Room[s]” was leaking water into puddles. The wet floor around the boiler was

soiled with thick white debris and thick black granular material.

        97.      The mat at the entrance of the Prep Room was brown and soiled. In other words,

it was filthy.

        98.      The FDA also observed cloudy discoloration on the barrier facing the ISO 6

Clean Room and metal surfaces of the pass through in the wall to the ISO 6 Clean Room. The

metal ledge within the clean room contained reddish-brown and cloudy substances. And there

were “dark, hair like discoloration” along the gasket and crevices located at the bottom edge of



                                                 25
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 26 of 65



the closed pass through installed within the wall of the ISO 6 Clean Room. NECC used ISO 6

Clean Room to formulate and fill sterile preparation, including MPA.

                                       K. The Investigation Grows

                 1. FDA Confirms Other NECC Products Are Contaminated.

       99.      On October 15, 2012 the FDA issued an advisory that a patient may have

acquired fungal meningitis from a different steroid injection, triamcinolone acetonide. In

addition, the FDA reported a transplant patient with aspergillus fumigatus infection who received

NECC cardioplegic solution during surgery. MDPH asked Massachusetts providers to contact

any patients who received any injectable product, including opthalmis drugs or cardioplegia

solutions prepared by NECC after May 21, 2012.

       100.     On October 18, 2012 the FDA confirmed the presence of fungal contaminates in

sealed vials of MPA in a suspect lot prepared by NECC. The FDA also collected samples from

sealed vials of completed product at Ameridose.

     2. Board of Pharmacy Revokes Cadden, Chin and Conigliaro Pharmacy Licenses.

       101.     On October 22, 2012 the Board of Pharmacy and MDPH announced that Barry J.

Cadden, Glenn A Chin, and Lisa Conigliaro Cadden are prevented from practicing as

pharmacists, that it asked all three to surrender their pharmacist licenses immediately, and that if

they did not voluntarily comply their license would be permanently revoked. According to

MDPH, “[i]f the three pharmacists and NECC do not comply, the Board authorized staff to

proceed with permanent revocation.”

                                    L. Subsequent Litigation.

       102.     Lawsuits alleging death or injury based on contaminated MPA and other

contaminated drugs have been filed around the country. On February 12, 2013, the Judicial Panel



                                                 26
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 27 of 65



on Multidistrict Litigation issued an order under 28 U.S.C. § 1407 transferring various federal

court proceedings to the United States District Court for the District of Massachusetts for

coordinated pretrial proceedings.

                               V.     FACTUAL ALLEGATIONS

       103.     For approximately 6 months prior to July 10, 2012, Decedent was a patient of

and underwent the continuous medical care and treatment of the O’Connell Defendants in

connection with his chronic pain due to, inter alia, his medical conditions of sacroiliac joint

dysfunction, lumbrosacral pain and radiculopathy, peripheral neuropathy, and other related

conditions of his lower back, right hip, and right leg arising out of a serious motor vehicle

accident in April, 2009. At all times material herein, he was attended to, diagnosed and treated

by the O’Connell Defendants.

       104.     The O’Connell Defendants and their employees, affiliates, and agents owed

Plaintiff numerous duties including, without limitation, the following: to act as reasonable and

prudent healthcare providers; and to ensure that the medical treatment, including drugs, that they

administered to patients, including Plaintiff, was safe and effective.

       105.     On or about July 10, 2012, Defendant Cochran, under the supervision of Drs.

O’Connell and/or Grover, at Dr. O’Connell’s Pain Care Center and/or Dr. O’Connell’s Pain Care

Centers, Inc.’s facility, performed an injection procedure on Mr. Katz’s right sacroiliac joint,

during which procedure he was administered, according to his medical records, approximately

40 mg of NECC’s Triamcinolone from one or more vials.

       106.     On or about August 7, 2012, Defendant Cochran, under the supervision of Drs.

O’Connell and/or Grover, at Dr. O’Connell’s Pain Care Center and/or Dr. O’Connell’s Pain Care

Centers, Inc.’s facility, performed an injection procedure on Mr. Katz’s right sacroiliac joint,



                                                 27
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 28 of 65



during which procedure he was administered, according to his medical records, approximately

80 mg of NECC’s Triamcinolone from one or more vials.

       107.     On or about September 25, 2012, Defendant Cochran, under the supervision of

Drs. O’Connell and/or Grover, at Dr. O’Connell’s Pain Care Center and/or Dr. O’Connell’s Pain

Care Centers, Inc.’s facility, performed an injection procedure on Mr. Katz’s right sacroiliac

joint, during which procedure he was administered, according to his medical records,

approximately 60 mg of NECC’s MPA from one or more vials. Upon information and belief, the

MPA used during the procedure was drawn from vials that were part of the three lots of fungus-

contaminated MPA vials that NECC recalled on or about September 26, 2012 due to fungal

contamination traced back to it by the CDC following discovery of the fungal meningitis

outbreak.

       108.     The O’Connell Defendants knew, or should have known, that the MPA they

purchased acts as an immune system-suppressing agent, thus weakening the patient’s, including

Plaintiff’s, natural ability to fight off pathogens that could possibly be included in the injection.

       109.     The O’Connell Defendants knew, or should have known, the importance of

purchasing and administering safe and effective drugs to their patients, including Plaintiff.

       110.     The O’Connell Defendants knew, or should have known, that one of the best

ways of ensuring that it injects safe and effective drugs directly into the joints and other

vulnerable places of their patients, was to use only drugs approved by the FDA for the intended

form of administration.

       111.     The use of NECC’s drugs administered to the Plaintiff has not been approved by

the FDA.




                                                  28
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 29 of 65



       112.     The O’Connell Defendants knew, or should have known, that NECC’s drugs that

it administered to the Plaintiffs had not been approved by the FDA.

       113.     The O’Connell Defendants knew, or should have known, that another way of

ensuring that they administered safe and effective drugs directly into the bodies of their patients

was to purchase such drugs from an FDA-regulated manufacturer.

       114.     The O’Connell Defendants knew, or should have known, that NECC was not an

FDA-approved manufacturer.

       115.     Upon information and belief, the O’Connell Defendants ordered and purchased

preservative-free MPA from NECC for significantly less than normal retail cost at a significant

discount, at least $6.00 per vial or $480.00 per order and, as a result, knew or should have known

that they were purchasing an inferior product.

       116.     NECC’s cheaper, unregulated drugs were used by the O’Connell Defendants in

lieu of commercially available drug products manufactured by FDA-approved manufacturers.

       117.     It is a violation of the laws of the United States and the Commonwealth of

Massachusetts to sell compounded drugs in bulk and without a patient-specific prescription.

NECC and the O’Connell Defendants violated these laws.

       118.     Rather than producing small quantities of its drugs on a per-prescription basis,

NECC engaged in the illegal and risky process of producing and marketing very large quantities

of its drugs at one time and not per prescription as required by the laws of the United States and

the Commonwealth of Massachusetts.

       119.     The O’Connell Defendants knew, or should have known, that NECC engaged in

the process of producing and marketing very large quantities of its drugs.




                                                 29
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 30 of 65



       120.      NECC acted as a wholesale distributor by selling very large quantities of its

drugs to the O’Connell Defendants.

       121.      NECC engaged in the large-scale production and sale of its drugs without

individual prescriptions in violation of the laws of the United States and/or Commonwealth of

Massachusetts.

       122.      The O’Connell Defendants knew, or should have known, that NECC engaged in

the large-scale production and sale of its drugs without individual prescriptions in violation of

the laws of the United States and/or Commonwealth of Massachusetts.

       123.      Notwithstanding the foregoing knowledge, the O’Connell Defendants voluntarily

purchased drugs for use on the Plaintiff on a wholesale basis from NECC without prescriptions.

       124.      Upon information and belief, the O’Connell Defendants never provided NECC

with patient-specific prescriptions as required by law.

       125.      Under the laws of the United States and Commonwealth of Massachusetts,

compounding pharmacists must ensure compliance with USP-NF standards (United States

Pharmacopeial National Formulary).

       126.      NECC and its pharmacists did not comply with USP-NF standards.

       127.      The O’Connell Defendants knew, or should have known, that NECC was not

compliant with USP-NF standards.

       128.      The O’Connell Defendants knew, or should have known, that another way of

ensuring that safe and effective drugs are administered to their patients, including the Plaintiff,

was to purchase such drugs from an accredited compounding pharmacy or purchase

pharmaceuticals directly from pharmaceutical manufacturers regulated by the FDA.




                                                 30
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 31 of 65



       129.     NECC is not, and at all relevant times was not, accredited by the Pharmacy

Compounding Accreditation Board (“PCAB”) or any other similar organization, such as The

Joint Commission, that offers independent assurance as to the quality and competence of

compounding pharmacies that meet certain requirements.

       130.     The O’Connell Defendants knew, or should have known, that NECC was not an

accredited compounding pharmacy.

       131.     There are accredited compounding pharmacies throughout the United States and,

in fact, in New Hampshire, but the O’Connell Defendants chose not to purchase drugs from

them, electing instead to buy drugs from an unaccredited, unregistered wholesale pharmacy for

use in treating Decedent.

       132.     The O’Connell Defendants knew, or should have known, that another way of

ensuring that safe and effective steroids are administered to their patients was to purchase drugs

which contain preservatives.

       133.     The hazards, dangers and problems entailed in administering compounded drugs,

and especially the use of preservative-free sterile preparations, were well known to the medical

profession, including the O’Connell Defendants, and the subject of many articles and

professional guidance documents.

       134.     NECC produced MPA administered to the Decedent, without preservatives.

       135.     The O’Connell Defendants knew, or should have known, that NECC produced

drugs they administered to the Decedent without preservatives and, in fact, upon information and

belief, specifically ordered preservative-free drugs from NECC.

       136.     The O’Connell Defendants knew or should have known that purchasing and

utilizing preservative-free products, as was done here, increased the risk of contamination.



                                                31
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 32 of 65



Because the vials contained no antimicrobial preservative, there was nothing to inhibit the

growth of bacteria and fungus that were introduced into the drugs administered to the Decedent

by the O’Connell Defendants.

       137.     Upon information and belief, the O’Connell Defendants knew or should have

known that preserved MPA was available to them from a reputable pharmacy during the time the

NECC preservative-free product was being shipped to its facilities and, as such, knew or should

have known that such an option existed and utilized that option.

       138.     Upon information and belief, the O’Connell Defendants realized a more

significant profit per injection using the NECC MPA than they would have using MPA from

another, more reputable, compounding pharmacy.

       139.     Despite the increased risk of using preservative-free drugs, and of purchasing

drugs not approved by the FDA, the O’Connell Defendants purchased the drugs it administered

to the Decedent from unaccredited NECC for use in the Decedent’s body.

       140.     The O’Connell Defendants knew, or should have known, that another way of

ensuring that safe and effective drugs are administered to their patients, including the Decedent,

was to ensure that such drugs are produced to the highest standards, including in a highly sterile

environment.

       141.     While NECC is not regulated by the FDA, in 2011 the American Society of

Health-System Pharmacists (ASHP) published Guidelines on Outsourcing Sterile Compounding

Services (hereinafter “Outsourcing Compounding Guidelines”). At all relevant times, the

O’Connell Defendants were subject to the Outsourcing Compounding Guidelines.




                                                32
         Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 33 of 65



       142.    At all times relevant, the O’Connell Defendants failed to perform the following

due diligence prior to purchasing sterile compounds from NECC, as recommended by the ASHP

Guidelines on Outsourcing Sterile Compounding Services, including, but not limited to:

              a.      verify whether NECC’s quality processes demonstrated that NECC

       was a reputable and safe supplier of sterile injectable compounds;

              b.      determine if NECC was an accredited compounding pharmacy;

              c.      at least once annually, unannounced, visit NECC’s corporate

       offices and compounding facilities and confer with NECC’s corporate, pharmacy

       and compounding staff;

              d.      determine whether NECC had any product liability lawsuits filed

       against it for preparations compounded;

              e.      determine whether there had ever been recalls of any of NECC’s

       compounded preparations;

              f.      evaluate NECC’s standard operating procedures and manuals;

              g.      evaluate NECC’s pharmacist technician training;

              h.      evaluate NECC’s policies and procedures for sterility testing;

              i.      evaluate examples of batch reports for product being considered

       for outsourcing;

              j.      evaluate examples of quality-control reports;

              k.      obtain and evaluate history of the results of all NECC accreditation

       or regulatory surveys conducted of NECC’s sites, including copies of significant

       regulatory actions;




                                                 33
  Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 34 of 65



        l.       determine if NECC could provide documentation of the end-

product testing processes used to determine that compounded sterile preparations

are sterile and free of pyrogens and unintended particulate matter;

        m.       evaluate whether NECC could assure that each compounded sterile

preparation was sterile and free of pyrogens and unintended particulate matter

according to professional established and accepted quality monitoring data;

        n.       determine whether NECC performed nonviable and viable particle

testing in primary engineering controls (e.g., laminar flow workbench, biological

safety cabinet) and room air according to USP chapter 797 standards;

        o.       determine    whether   NECC       performed     routine   surface

microbiological and fungal environmental monitoring to minimize contamination;

        p.       determine whether NECC had a policy that required validation of

new or changed facilities, equipment, processes, container types, for sterility and

repeatability;

        q.       determine whether NECC met ASHP, NIOSH and USP chapter

797 guidelines for the handling of hazardous agents;

        r.       evaluate NECC’s quality management program, specifically as it

relates to facility cleaning and validation, staff training, and competency

assessment;

        s.       evaluate NECC’s risk assessment program to ensure that

medication errors are not introduced by new or increased outsourced

compounding activities; and




                                        34
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 35 of 65



               t.     determine whether NECC had a history of disciplinary or punitive

       actions by any regulatory agency.

       143.     Upon information and belief, had the O’Connell Defendants followed the

recommendations set forth in the Outsourcing Compounding Guidelines, they would have found

NECC in the deplorable conditions set forth above, learned of its unsuitable, checkered history,

prior reprimands, and problems and complaints related to its practices and products.

       144.     Despite the importance of the sterile nature of the drugs the O’Connell

Defendants administered to the Decedent, NECC’s facility and production processes were

unsanitary and unsterile, and lacked adequate quality control measures.

       145.     The O’Connell Defendants knew, or should have known, that NECC’s drugs and

production processes were unsanitary and unsterile, and lacked adequate quality control

measures.

       146.     NECC took large quantities of non-sterile ingredients and placed them into an

aqueous mixture that then had to be rendered sterile.

       147.     NECC’s process made its drugs unreasonably dangerous, high-risk compounds.

       148.     NECC competed in the medical marketplace on the basis of offering cheaper

prices. Upon information and belief, NECC’s cheaper pricing was a major factor in the

O’Connell Defendants’ decisions to purchase drugs from NECC, as opposed to from other FDA-

regulated manufacturers of approved drugs.

       149.     Despite what the O’Connell Defendants knew, or should have known,

concerning NECC, they chose to purchase the drugs they administered to the Decedent from

NECC, which was an unaccredited, unsafe compounding pharmacy that: (a) produced its drugs

in the same complex as a waste facility; (b) produced the drugs in bulk batches; (c) did not



                                                35
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 36 of 65



properly sterilize the drugs; (d) did not operate with adequate quality control measures; (e) did

not operate in a sterile environment; (f) did not have adequately representative samples of the

drugs independently tested by an FDA-approved testing facility before releasing them for

distribution; (g) did not comply with USP-NF standards; (h) violated several provisions of the

law designed to protect their citizens from substandard and adulterated prescription drugs; and

(i) contracted with a cleaning company that failed to adequately and non-negligently perform the

work it was hired to do.

        150.    Despite what the O’Connell Defendants knew, or should have known,

concerning NECC, they chose to purchase the drugs they administered to the Decedent from

NECC, in part, to increase their profits at the risk of patient safety.

        151.    The O’Connell Defendants failed to inform their patients, including Decedent,

that they were receiving a preservative-free or otherwise drug produced from a compounding

pharmacy, much less a compounding pharmacy with the characteristics and problems as

described in the preceding paragraphs.

        152.    The O’Connell Defendants failed to inform their patients, including Decedent,

that they were receiving a preservative-free or otherwise drug that was not approved by the FDA.

They also failed to inform the Decedent that the drugs were obtained via mail order from a

pharmacy in Massachusetts that was neither inspected by the FDA nor was accredited by any

valid accrediting body. Such information is objectively material information to a reasonable

patient’s decision to undergo a procedure using such medication.

        153.    On the contrary, upon information and belief, many if not all of the O’Connell

Defendants failed to inform their patients, including Decedent, that the drugs obtained from




                                                  36
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 37 of 65



NECC and injected into him were not, in fact, the name brand drug produced by a FDA-

regulated laboratory and/or generic drugs produced by a FDA-regulated laboratory.

       154.     At all relevant times, Decedent never received from the O’Connell Defendants a

drug produced to the same high quality standards as name brand or generic drugs produced by

FDA-regulated manufacturers and he was never informed of the O’Connell Defendants’ choice

to purchase the drugs administered to her from an unaccredited facility like NECC.

       155.     In connection with the O’Connell Defendants obtaining NECC’s preservative-

free drugs for its patients, including Decedent, the O’Connell Defendants either failed to take or

negligently performed the reasonable and necessary due diligence and investigatory steps and

measures necessary to vet, evaluate and determine the safety and quality of NECC’s products,

and in particular, determine if NECC could properly and suitably compound, package and

provide sterile preservative-free drugs for use by the O’Connell Defendants in procedures on

Decedent.

       156.     At all times and places pertinent to this action, the drugs that the O’Connell

Defendants voluntarily purchased from NECC and then sold and provided to their patients,

including Decedent, were contaminated with fungus, mold, and/or other contaminates, and,

therefore, were unsafe and unreasonably dangerous.

       157.     As a direct and proximate result of the O’Connell Defendants’ wrongful conduct,

the Decedent was administered contaminated products by the O’Connell Defendants, causing

him serious injuries, compromising his immune system, and ultimately leading to death.

                               VI. GENERAL ALLEGATIONS

       158.     Following his Triamcinolone injections on or about July 10, August 7, and his

MPA injection on September 25, 2012, the fungus contaminated MPA caused Decedent to



                                                37
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 38 of 65



sustain and suffer infection and injury to his body. Decedent suffered damages including, but

not limited to, meningeal infection, unpleasant and disabling symptoms, headache, neck

stiffness, memory loss, slurred speech, vomiting, nausea, fever, generalized pain, sensitivity,

fatigue, malaise, parasthesis, and debility as a result of the infection; exacerbation and/or

worsening of sacroiliac joint dysfunction, lumbrosacral pain and radiculopathy, peripheral

neuropathy, and other related conditions of his lower back, right hip, and right leg arising out of

his serious motor vehicle accident in April, 2009, complicated by infection; numerous medical

appointments between October, 2012 and November, 2014 with various physicians including,

but not limited to, infectious disease specialists and primary care physicians, during which he

complained variously of these symptoms, and none of whom were able to definitively diagnose

or treat said infection and symptoms; and ultimately, on November 15, 2014, cerebrovascular

accident and coma, followed by a ten (10) day hospital admission, and death on November 25,

2014.

        159.    Plaintiff, both individually and through the Decedent, has suffered loss and

damages including, but not limited to: (a) past and future medical bills; (b) lost wages and loss

earning capacity; (c) pain and suffering; (d) emotional distress and loss of enjoyment of life; (e)

enhanced compensatory damages; (f) punitive damages under Massachusetts law and as

permitted by the MDL; (g ) multiple damages plus attorney’s fees and costs under New

Hampshire law; (h) attorney fees and costs; (i) loss of consortium; and (j) all other damages

permitted by law.




                                                 38
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 39 of 65



                                      VII. CAUSES OF ACTION

                      COUNT I – NEGLIGENCE AND GROSS NEGLIGENCE
                                AS PERMITTED IN THE MDL

          160.   Plaintiff hereby repeats, realleges, and incorporates by reference each and every

factual allegation set forth in the preceding Paragraphs as though fully and completely set forth

herein.

          161.   The O’Connell Defendants had a duty to provide Decedent with reasonable care

and treatment.

          162.   The O’Connell Defendants had a duty to exercise reasonable care to ensure that

the drugs they purchased in order to sell and administer to their patients, including Decedent,

were purchased from drug companies that complied with the laws regarding pharmaceuticals.

          163.   The O’Connell Defendants had a duty to exercise reasonable care to ensure that

the drugs they provided to their patients, including Decedent, were purchased from a company

that made safe and effective drugs.

          164.   The O’Connell Defendants had a duty to exercise reasonable care to ensure that

the drugs they provided to their patients, including Decedent, were purchased from a company

that utilized proper quality control, safety, and sterility measures in order to minimize the

possibility that the drugs would become adulterated or contaminated.

          165.   The O’Connell Defendants had a duty to exercise reasonable care to avoid

administering contaminated drugs, or drugs they knew or should have known to be

contaminated, to Decedent.

          166.   The O’Connell Defendants had a duty to obtain informed consent from Decedent

for the procedure performed on Decedent, adequately and accurately describing to him the nature




                                                 39
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 40 of 65



of the procedure, as well as the risks of such procedure, including the drugs that were to be

administered during such procedure.

       167.     The O’Connell Defendants had a duty to exercise reasonable care to ensure that

their patients are not infected with diseases.

       168.     In this case, where the drug came from an unaccredited, mass producing, out-of-

state, compounding pharmacy, unregulated by the FDA, the O’Connell Defendants had a duty to

inform Decedent of the source of the drug and the dangers associated therewith.

       169.     The O’Connell Defendants had a duty to exercise reasonable care to train and

supervise their employees and/or agents regarding safe drug purchasing/procurement, infection

control processes and disease prevention.

       170.     The O’Connell Defendants breached their duties to Decedent in many respects,

including, without limitation:

               a.   The O’Connell Defendants failed to provide Decedent with reasonable

       care and treatment;

               b.   The O’Connell Defendants failed to exercise reasonable and prudent

       care to ensure that the drug they purchased and provided to Decedent was made by

       NECC in compliance with all applicable pharmaceutical laws;

               c.   The O’Connell Defendants failed to exercise reasonable and prudent

       care to ensure that the drug they purchased and provided to Decedent were sold to

       them by NECC in compliance with all applicable pharmaceutical laws;

               d.   The O’Connell Defendants failed to know and understand the source

       and supply of the drug they provided to Decedent;




                                                 40
  Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 41 of 65



       e.   The O’Connell Defendants failed to use the appropriate, necessary and

reasonable due diligence and investigatory steps and measures necessary to vet,

evaluate and determine the safety and quality of NECC’s drugs, and in particular,

determine if NECC could properly and suitably compound, package and provide

sterile preservative-free drugs for administration to Decedent;

       f.   The O’Connell Defendants failed to follow the reasonable ASHP

Guidelines on Outsourcing Sterile Compounding Services which, had they

followed, would have established that NECC’s products were unsuitable for

administration to the Decedent;

       g.   The O’Connell Defendants failed to exercise reasonable and prudent

care to ensure that the drug they provided to Decedent was produced in sanitary,

sterile conditions;

       h.   The O’Connell Defendants failed to properly inform Decedent that

the use of the drug was not approved by the FDA;

       i.   The O’Connell Defendants failed to properly inform Decedent of the

risks and dangers associated with the administration of the drug; and they failed to

inform her that they had obtained the drug from NECC, a mass-producing,

unaccredited, non-FDA regulated compounding pharmacy;

       j.   The O’Connell Defendants failed to exercise reasonable care to avoid

administering to Decedent a preservative-free, adulterated, contaminated and/or

unreasonably dangerous drug;




                                         41
  Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 42 of 65



       k.   The O’Connell Defendants failed to conduct adequate due diligence

regarding whether NECC was a reputable and safe supplier of sterile injectable

compounds;

       l.   The O’Connell Defendants failed to visit NECC’s facilities before

procuring compounded drugs, and other medicines, from NECC;

       m. The O’Connell Defendants failed to investigate and exercise sufficient

due diligence before administering drugs procured from NECC, including failing

to investigate or inquire concerning NECC’s compounding practices, standard

operating procedures, pharmacist training, and risk management protocols;

       n.   The O’Connell Defendants failed to determine whether NECC had a

history of recalling compounded medications before procuring medicines from

that company;

       o.   The O’Connell Defendants failed to investigate NECC’s regulatory

history with the FDA and/or the Massachusetts Board of Registration in

Pharmacy before procuring drugs from NECC;

       p.   The O’Connell Defendants failed to determine whether NECC had a

history of product liability suits before procuring medicines from that company;

       q.   The O’Connell Defendants failed to keep abreast of the dangers of

sterile compounding;

       r.   Upon information and belief, the O’Connell Defendants purchased

compounded drugs in bulk from NECC without using patient-specific individual

prescriptions;




                                        42
  Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 43 of 65



        s.   The O’Connell Defendants failed to appropriately store drugs

purchased from NECC to reduce the risk of the growth of contaminants;

        t.   The O’Connell Defendants failed to adequately supervise and train the

physicians, nurses, agents and employees who ordered, procured and/or

administered drugs from NECC;

        u.   The O’Connell Defendants failed to implement policies and

procedures that would prevent the procurement of purportedly sterile drugs from

an out-of-state compounding pharmacy with a deplorable facility and sterility

procedures, a checkered regulatory past, product recall problems, and a history of

product liability suits;

        v.   The O’Connell Defendants administered drugs to Decedent without

taking reasonable steps to ensure that those medicines were from a reputable

supplier and were not contaminated with lethal pathogens;

        w. The O’Connell Defendants failed to promptly notify Decedent that

she was injected with potentially contaminated steroids and failed to recommend

that she receive prompt treatment of their potential infections and other

symptoms;

        x.   The O’Connell Defendants chose to purchase and administer

preservative-free drugs despite having the option of purchasing and/or

administering drugs containing preservatives;

        y.   The O’Connell Defendants failed in the performance of their various

duties in that they permitted Decedent to be infected and/or failed to prevent him

and numerous other patients from being infected by the tainted MPA and to



                                        43
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 44 of 65



        contract disease that they did not have prior to presenting to the O’Connell

        Defendants for treatment; and

                z.   The O’Connell Defendants failed to exercise reasonable care in such

        other manners as may be shown through discovery and at trial.

        171.    The physicians, physician assistants, nurses, agents, employees and

representatives who decided to procure drugs from NECC and those who administered them to

the Decedent were employees or agents of the O’Connell Defendants, and they were acting

within the course and scope of their employment or agency. Accordingly, the O’Connell

Defendants are liable for the consequences of said person’s or persons’ conduct pursuant to the

doctrine of respondeat superior.

        172.    The negligence of the O’Connell Defendants proximately caused Decedent’s

injuries and distress.

        173.    The foregoing acts and omissions by the O’Connell Defendants went beyond

mere thoughtlessness, inadvertence or error of judgment. The actions of the O’Connell

Defendants did not meet even the most minimal diligence to ensure that they were not injecting

contaminated, adulterated, tainted, and unreasonably dangerous drugs directly into the bodies of

their patients, including Decedent.

        174.    The acts and omissions of the O’Connell Defendants constituted such utter

disregard for the rights of others, and such utter disregard for prudence, that they amount to

complete neglect of the safety of patients, including Decedent.

        175.    As permitted in the MDL, the acts and omissions of the O’Connell Defendants

were a heedless and palpable violation of their legal duties respecting the life and rights of




                                                 44
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 45 of 65



Decedent and constitute gross negligence as they exhibited very great negligence, or the absence

of slight diligence, or the want of even scant care.

          176.   As a direct and proximate result of the O’Connell Defendants’ acts and

omissions, Decedent suffered, inter alia, a meningeal infection, which caused him to suffer a

compromised immune system, extreme pain, physical disability, emotional distress, and eventual

cerebrovascular accident and death at age 29, as outlined herein.

          177.   The O’Connell Defendants’ conduct set out above was wanton, malicious, or

oppressive thus warranting the imposition of enhanced compensatory damages and/or punitive

damages as permitted by the MDL.

          WHEREFORE, Plaintiff demands judgment against the O’Connell Defendants, jointly

and severally, on Count I of this Complaint, in an amount that will justly compensate for the

damages, together with interest, costs and her attorney fees incurred in this action, all within the

jurisdictional limits of this Court.

                            COUNT II – MEDICAL NEGLIGENCE

          178.   Plaintiff hereby repeats, realleges, and incorporates by reference each and every

factual allegation set forth in the preceding Paragraphs as though fully and completely set forth

herein.

          179.   It was then and there the duty of the O’Connell Defendants, acting by and

through its agents and employees, to possess reasonable care and knowledge and to exercise the

degree of care and skill as the average and prudent practitioner should under the same or similar

circumstances.

          180.   The O’Connell Defendants had a duty to obtain the consent of the patient prior to

providing treatment, and to inform the patient of the type of information regarding the treatment



                                                 45
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 46 of 65



and/or procedure or such risks and alternative alternatives as would the ordinary prudent

physician under the same or similar circumstances.

       181.     The O’Connell Defendants had a duty to inform the Decedent of the risks of

being injected with the preservative-free MPA manufactured by NECC.

       182.     Yet nevertheless, the O’Connell Defendants failed in the performance thereof

when they failed to properly inform Decedent of the origin and nature of the MPA and the risks

of being injected with the preservative-free MPA as set forth herein, and when they caused

Decedent and numerous other patients to be infected by the tainted MPA and to sustain disease

that she did not have before presenting to the O’Connell Defendants, and when they recklessly

failed to supervise its employees and enact or enforce appropriate policies, procedures, and

protocols regarding all aspects of infection control including, but not limited to, procurement

and/or administration of injectable medication.

       183.     As a direct and proximate result of the O’Connell Defendants’ acts and

omissions, Decedent suffered, inter alia, a meningeal infection, which caused him to suffer a

compromised immune system, extreme pain, physical disability, emotional distress, and eventual

cerebrovascular accident and death at age 29, as outlined herein.

       184.     As a result of the of the O’Connell Defendants’ acts or omissions as set out

herein, the Decedent suffered injury which would not otherwise have occurred.

       185.     Decedent’s injuries, complications, suffering, and death occurred as a proximate

result of the negligence of the O’Connell Defendants.

       186.     The O’Connell Defendants’ negligence caused, or partially contributed to

Decedent’s injuries, complications, suffering, and death.




                                                  46
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 47 of 65



          187.   The O’Connell Defendants’ conduct set out above was wanton, malicious, or

oppressive thus warranting the imposition of enhanced compensatory damages and/or punitive

damages as permitted by the MDL.

          WHEREFORE, Plaintiff demands judgment against the O’Connell Defendants, jointly

and severally, on Count II of this Complaint, in an amount that will justly compensate for the

damages, together with interest, costs and her attorney fees incurred in this action, all within the

jurisdictional limits of this Court.

   COUNT III – VIOLATION OF NEW HAMPSHIRE PATIENTS’ BILL OF RIGHTS
                             N.H.R.S.A. 151:21

          188.   Plaintiff hereby repeats, realleges, and incorporates by reference each and every

factual allegation set forth in the preceding Paragraphs as though fully and completely set forth

herein.

          189.   The O’Connell Defendants are subject to N.H.R.S.A. 151:21 (the New

Hampshire State Patients' Bill of Rights) because they are physicians and/or a medical facility

licensed by and operating in the State of New Hampshire.

          190.   Pursuant to N.H.R.S.A. 151:21(IV), “health care provider” is defined as:

                 any person, corporation, facility, or institution either licensed by
                 this state or otherwise lawfully providing health care services,
                 including, but not limited to, a physician, hospital or other health
                 care facility, dentist, nurse, optometrist, podiatrist, physical
                 therapist, or psychologist, and any officer, employee, or agent of
                 such provider acting in the course and scope of employment or
                 agency related to or supportive of health care services.

          191.   N.H.R.S.A. 151:21 requires that the policy describing the rights and

responsibilities of each patient admitted to a facility shall include, at a minimum, “the patient

shall be free from emotional, psychological, sexual and physical abuse and from exploitation,

neglect, corporal punishment and involuntary seclusion.” N.H.R.S.A. 151:21(VIII).


                                                  47
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 48 of 65



          192.   The O’Connell Defendants violated Plaintiff’s State rights by neglecting to

ensure Decedent’s safety and to provide safe and reasonable medical care, including, but not

limited to, injecting Decedent with tainted drugs as set forth herein.

          193.   As a direct and proximate result of the O’Connell Defendants’ violation of the

State Patients' Bill of Rights, Decedent suffered, inter alia, a meningeal infection, which caused

him to suffer a compromised immune system, extreme pain, physical disability, emotional

distress, and eventual cerebrovascular accident and death at age 29, as outlined herein.

          194.   Defendant's actions were wanton, malicious, or oppressive, and undertaken with

reckless indifference and disregard of the consequences, reckless indifference and disregard of

the well-being and safety of the Plaintiff.

          WHEREFORE, Plaintiff demands judgment against the O’Connell Defendants, jointly

and severally, on Count III of this Complaint, in an amount that will justly compensate for the

damages, together with interest, costs and her attorney fees incurred in this action, all within the

jurisdictional limits of this Court.

                 COUNT IV – NEGLIGENCE PER SE (DIRECT LIABILITY)

          195.   Plaintiff hereby repeats, realleges, and incorporates by reference each and every

factual allegation set forth in the preceding Paragraphs as though fully and completely set forth

herein.

          196.   The O’Connell Defendants owed Decedent an elevated duty of care based on

their obligation to provide protective care to their patients when the patients are unable to protect

themselves, such as when they are receiving injections into their bodies.

          197.   Decedent was unable to protect himself against being injected and infected with

the tainted MPA by the O’Connell Defendants.



                                                 48
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 49 of 65



          198.   The O’Connell Defendants failed to provide Decedent with a higher level of care

and security required of them.

          199.   The O’Connell Defendants’ acts or omissions in violation of RSA 151:21

constitute a per se breach of their duty of care.

          200.   As a direct and proximate result of the O’Connell Defendants’ acts and

omissions, Decedent suffered, inter alia, a meningeal infection, which caused him to suffer a

compromised immune system, extreme pain, physical disability, emotional distress, and eventual

cerebrovascular accident and death at age 29, as outlined herein.

          201.   Defendant's actions were wanton, malicious, or oppressive, and undertaken with

reckless indifference and disregard of the consequences, reckless indifference and disregard of

the well-being and safety of the Plaintiff.

          WHEREFORE, Plaintiff demands judgment against the O’Connell Defendants, jointly

and severally, on Count IV of this Complaint, in an amount that will justly compensate for the

damages, together with interest, costs and her attorney fees incurred in this action, all within the

jurisdictional limits of this Court.

  COUNT V – RECKLESS INFLICTION OF EMOTIONAL DISTRESS – ENHANCED
                             DAMAGES

          202.   Plaintiff hereby repeats, realleges, and incorporates by reference each and every

factual allegation set forth in the preceding Paragraphs as though fully and completely set forth

herein.

          203.   It was then and there the duty of the O’Connell Defendants, acting by and

through their agents and employees, to refrain from engaging in extreme and outrageous conduct

that recklessly causes severe emotional distress to another.




                                                    49
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 50 of 65



       204.     The O’Connell Defendants breached their duties to Decedent in many respects

and as set out herein, including, but not limited to:

               a.       The O’Connell Defendants, upon information and belief, purchased

       compounded drugs in bulk from NECC without using patient-specific individual

       prescriptions;

               b.       The O’Connell Defendants failed to protect the Decedent from harm and

       to prevent him from being infected with diseases;

               c.       The O’Connell Defendants injected the Decedent with tainted MPA and

       caused him to suffer an infection;

               d.       The O’Connell Defendants failed to promptly notify Decedent that he was

       injected with potentially contaminated steroids and failed to recommend that he receive

       prompt treatment of their potential infections and other symptoms; and

               e.       The O’Connell Defendants failed to refrain from engaging in extreme and

       outrageous conduct that recklessly caused severe emotional distress to Decedent in such

       other manners as set out in the Complaint herein and/or may be shown through discovery

       and at trial.

       205.     As a direct and proximate result of the O’Connell Defendants’ acts and

omissions, Decedent suffered, inter alia, a meningeal infection, which caused him to suffer a

compromised immune system, extreme pain, physical disability, emotional distress, and eventual

cerebrovascular accident and death at age 29, as outlined herein.

       206.     Decedent’s injuries and distress occurred as a proximate result of the

recklessness and/or negligence of the O’Connell Defendants.




                                                  50
             Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 51 of 65



          207.   The O’Connell Defendants’ conduct set out above was wanton, malicious, or

oppressive thus warranting the imposition of enhanced compensatory damages and/or punitive

damages as allowed by the MDL.

          WHEREFORE, Plaintiff demands judgment against the O’Connell Defendants, jointly

and severally, on Count V of this Complaint, in an amount that will justly compensate for the

damages, together with interest, costs and her attorney fees incurred in this action, all within the

jurisdictional limits of this Court.

            COUNT VI - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

          208.   Plaintiff hereby repeats, realleges, and incorporates by reference each and every

factual allegation set forth in the preceding Paragraphs as though fully and completely set forth

herein.

          209.   It was then and there the duty of the O’Connell Defendants to protect Decedent

from harm and, acting by and through its agents and employees, to exercise reasonable care to

ensure that its patients are not infected with diseases.

          210.   Yet, nevertheless, the O’Connell Defendants failed in the performance thereof in

that they caused Decedent and numerous other patients to be infected by the tainted MPA and to

contract disease that they did not have before presenting to the O’Connell Defendants for

treatment.

          211.   As a direct and proximate result of the O’Connell Defendants’ acts and

omissions, Decedent suffered, inter alia, a meningeal infection, which caused him to suffer a

compromised immune system, extreme pain, physical disability, emotional distress, and eventual

cerebrovascular accident and death at age 29, as outlined herein.




                                                  51
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 52 of 65



          212.   Decedent’s injuries and distress occurred as a proximate result of the negligence

of the O’Connell Defendants.

          213.   The O’Connell Defendants’ conduct set out above was wanton, malicious, or

oppressive thus warranting the imposition of enhanced compensatory damages and/or punitive

damages as allowed by the MDL.

          WHEREFORE, Plaintiff demands judgment against the O’Connell Defendants, jointly

and severally, on Count VI of this Complaint, in an amount that will justly compensate for the

damages, together with interest, costs and her attorney fees incurred in this action, all within the

jurisdictional limits of this Court.

          COUNT VII – WILLFUL AND KNOWING VIOLATION OF CONSUMER
                     PROTECTION ACT (N.H. R.S.A. 358-A, et seq.)

          214.   Plaintiff hereby repeats, realleges, and incorporates by reference each and every

factual allegation set forth in the preceding Paragraphs as though fully and completely set forth

herein.

          215.   O’Connell Defendants engaged in trade and commerce within the State of New

Hampshire.

          216.   Pursuant to R.S.A. 358-A, et seq., the O’Connell Defendants’ acts and/or

omissions alleged herein constitute unfair competition, unfair and deceptive acts or practices,

constitute false representations, and constitute the O’Connell Defendants failure to perform and

fulfill its promises, representations, and obligations to their patients, including Decedent.

Additionally, the O’Connell Defendants’ acts and/or admissions offend public policy, are

immoral, unethical, oppressive, and/or unscrupulous, and caused substantial injury to their

patients, including Decedent.




                                                 52
           Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 53 of 65



        217.    As described herein, O’Connell Defendants represented to their patients,

including Decedent, that the products administered had characteristics, uses and benefits that

they did not have.

        218.    As described herein, O’Connell Defendants represented that their products were

of a particular standard, quality and grade that they either knew or should have known was not of

the standard, quality or grade described.

        219.    As described herein, O’Connell Defendants advertised, promoted, and otherwise

offered their services to the general public, including Decedent, and represented that they were

competent to provide medical care and other health care services in a safe manner and in

accordance with the accepted standard of care among similar health care providers when it was

and in accordance with the accepted standard of care among similar health care providers when it

was not.

        220.    O’Connell Defendants failed to provide accurate disclosures of all material

information before Decedent agreed to be injected with an NECC Contaminated Drug.

        221.    O’Connell Defendants willfully and knowingly failed to abide by regulations, laws

and guidelines set forth to protect consumer safety, constituting a violation of the New

Hampshire consumer protection statutes set forth herein.

        222.    O’Connell Defendants’ willful and knowing withholding of important safety

information and critical product information constitutes a violation of New Hampshire consumer

protection statutes set forth herein.

        223.    O’Connell Defendants actively, knowingly, and deceptively concealed the

product’s dangerous properties and life-threatening risks of which they knew or should have

known. This conduct evidences bad faith and unfair and deceptive practices.



                                                53
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 54 of 65



       224.     O’Connell Defendants engaged in the conduct as described herein that created a

likelihood of confusion and misunderstanding.

       225.     O’Connell Defendants engaged in the conduct as described herein that created a

likelihood of causing injury to unknowing consumers, including Decedent.

       226.     O’Connell Defendants’ conduct as described herein constituted unfair and

deceptive acts and practices, including, but not limited to:

           a.       Misrepresenting the nature, quality, and characteristics about the

       products they sold and administered to Decedent;

           b.       Caused likelihood of confusion or misunderstanding as to the source,

       sponsorship, approval, or certification of products and/or services;

           c.       Represented services as having characteristics, ingredients, uses, and

       benefits that they did not have;

           d.       Represented that services were of a particular standard, quality or

       grade that they did not possess;

           e.       Advertised services with the intent not to deliver them;

           f.       Advertised services with the intent not to supply reasonably

       expectable public demand;

           g.       Unfairly violating regulations, laws and guidelines set forth to protect

       consumer safety;

           h.       Advertised, promoted, and otherwise offered their services to the

       general public, including Decedent, and represented that they were competent to

       provide medical care and other health care services in a safe manner and in

       accordance with the accepted standard of care among similar health care



                                                 54
           Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 55 of 65



       providers when it was and in accordance with the accepted standard of care

       among similar health care providers when it was not;

           i.       Unfairly exposing unknowing consumers, including Decedent, to

       significant, unnecessary risk of harm and actual harm and injury; and

           j.       All other unfair and deceptive acts set forth herein.

       227.     The practices described herein are unfair because they offend public policy as

established by statutes, the common law, or otherwise. Additionally O’Connell Defendants were

unethical and unscrupulous, and caused substantial injury to consumers, including Decedent.

O’Connell Defendants engaged in unconscionable actions and courses of action.

       228.     O’Connell Defendants willfully and knowingly engaged in the conduct described

herein, which they knew was deceptive, in the course of business, trade and commerce, and had a

deleterious impact on the public interest.

       229.     O’Connell Defendants are liable to Plaintiff for all statutory, direct and

consequential damages, and fees and costs resulting from this breach, including multiple

damages.

       230.     Decedent was injected with NECC Contaminated Drugs for personal use and

thereby suffered ascertainable losses as a result of the O’Connell Defendants’ actions in violation

of the consumer protection laws.

       231.     Had O’Connell Defendants not engaged in the deceptive conduct described

herein, Decedent would not have allowed for the administration of NECC Contaminated Drugs,

and would not have incurred related medical costs, injury, compromised immune system,

cerebrovascular accident, and death.




                                                 55
           Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 56 of 65



        232.       O’Connell Defendants engaged in wrongful conduct while at the same time

obtaining, under false pretenses, money from Decedent for the NECC Contaminated Drugs that

would not have been paid had O’Connell Defendants not engaged in unfair and deceptive

conduct.

        233.       O’Connell Defendants have a statutory duty to refrain from unfair or deceptive

acts or trade practices in the promotion and sale of the NECC Contaminated Drugs.

        234.       Had O’Connell Defendants not engaged in the deceptive conduct described

above, decedent Chevy Katz would not have purchased and/or paid for NECC Contaminated

Drugs, and would not have incurred related medical costs.

        235.       Defendants’ actions, as complained of herein, constitute unfair competition or

unfair, unconscionable or deceptive acts or trade practices in violation of N.H. R.S.A. 358-A:1 et

seq.

        236.       Under the statutes listed above to protect consumers against unfair, deceptive,

and unconscionable trade and business practices and false advertising as well as

NH RSA 382-A:2, et seq., O’Connell Defendants are the suppliers, advertisers, and sellers, who

are subject to liability under such legislation for unfair, deceptive and unconscionable consumer

sales practices.

        237.       O’Connell Defendants violated the statutes that were enacted in New Hampshire

to protect consumers against unfair, deceptive, and unconscionable trade and business practices

and false advertising, by knowingly and falsely representing that the NECC Contaminated Drugs

were fit to be used for the purpose for which they were intended, when, in fact, they were

defective and dangerous, and by other acts alleged herein.




                                                   56
             Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 57 of 65



        238.     The actions and omissions of O’Connell Defendants alleged herein are uncured

or incurable deceptive acts under the statutes enacted in New Hampshire to protect consumers

against unfair, deceptive and unconscionable trade and business practices and false advertising.

        239.     Decedent relied upon O’Connell Defendants’ misrepresentations and omissions

in determining which product to use.

        240.     O’Connell Defendants’ deceptive, unconscionable representations and material

omissions to patients, physicians and consumers, constituted unfair and deceptive acts and

practices.

        241.     By reason of the unlawful acts engaged in by O’Connell Defendants, and as a

direct and proximate result thereof, Decedent has suffered ascertainable losses and damages.

        242.     As a direct and proximate result of O’Connell Defendants’ violations of the

consumer protection laws, Decedent suffered, inter alia, a meningeal infection, which caused

him to suffer a compromised immune system, extreme pain, physical disability, emotional

distress, and eventual cerebrovascular accident and death at age 29, as outlined herein, sustained

economic losses and other damages, and is entitled to multiple damages, fees and costs, and

statutory and compensatory damages, in an amount to be proven at trial.

        WHEREFORE, the Plaintiffs demand judgment against O’Connell Defendants, on

Count VII of this Complaint, in an amount that will justly compensate for the damages, together

with interest, costs and his attorney fees incurred in this action, all within the jurisdictional limits

of this Court.




                                                  57
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 58 of 65



                             COUNT VIII - FAILURE TO WARN

          243.   Plaintiff hereby repeats, realleges, and incorporates by reference each and every

factual allegation set forth in the preceding Paragraphs as though fully and completely set forth

herein.

          244.   A special relationship existed between the O’Connell Defendants and Decedent,

which gave him a right to protection.

          245.   The O’Connell Defendants had a duty to protect Decedent against harm with

regard to the tainted MPA.

          246.   The O’Connell Defendants provided high risk and unreasonably dangerous

NECC Contaminated Drugs to patients, including Decedent, in the place of safe, medically

acceptable drugs.

          247.   Yet, nevertheless, the O’Connell Defendants failed to inform their patients,

including Decedent, that they were being administered an unsafe, unreasonably dangerous drug

compounded by NECC rather than a high quality drug produced by an FDA regulated

manufacturer.

          248.   Upon information and belief, the O’Connell Defendants prepared a Consent for

Treatment Form. The form, which was presented to Decedent by the O’Connell Defendants, and

which he read and relied upon when agreeing to accept treatment, failed to inform Decedent of

the risks and benefits of the procedures before it was performed. When presenting the form to

Decedent, the O’Connell Defendants knew that nobody on its behalf would be informing

Decedent of the inferior and unreasonably dangerous nature of the NECC preservative-free drug

that would be administered to him. O’Connell Defendants knew that if Decedent were informed




                                                 58
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 59 of 65



of the true nature of the NECC drugs, Decedent would decline treatment with NECC drugs,

threatening the O’Connell Defendants’ profits.

          249.   Despite the increased risk of using preservative-free drugs, and of purchasing

drugs not approved by the FDA, the O’Connell Defendants purchased the drugs it administered

to Decedent from un-accredited NECC for use in his body.

          250.   As a direct and proximate result of the O’Connell Defendants’ acts and

omissions, Decedent suffered, inter alia, a meningeal infection, which caused him to suffer a

compromised immune system, extreme pain, physical disability, emotional distress, and eventual

cerebrovascular accident and death at age 29, as outlined herein.

          251.   The O’Connell Defendants’ conduct set out above was wanton, malicious, or

oppressive thus warranting the imposition of enhanced compensatory damages and/or punitive

damages as allowed by the MDL.

          WHEREFORE, Plaintiff demands judgment against Defendants on Count VIII of this

Complaint, in an amount that will justly compensate for the damages, together with interest, costs

and her attorney fees incurred in this action, all within the jurisdictional limits of this Court.

                        COUNT IX - PRODUCT LIABILITY CLAIMS

          252.   Plaintiff hereby repeats, realleges, and incorporates by reference each and every

factual allegation set forth in the preceding Paragraphs as though fully and completely set forth

herein.

          253.   The MPA injected into Decedent’s spine was compounded by NECC. NECC

has filed a voluntary petition for bankruptcy in the United States Bankruptcy Court for the

District of Massachusetts, In re: New England Compounding Pharmacy, Inc., Case No. 12-




                                                   59
          Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 60 of 65



19882-HJB. On July 24, 2013, the Bankruptcy Court ordered that with respect to certain claims,

NECC was presently insolvent and has been insolvent at all times since the petition date.

       254.    The O’Connell Defendants procured the MPA injected into Decedent’s spine

from NECC.

       255.    NECC’s product was defective and unreasonably dangerous when it left NECC’s

control because it was contaminated with lethal pathogens, and it was in substantially the same

condition at the time the O’Connell Defendants injected it into Decedent’s spine.

       256.    The O’Connell Defendants charged Decedent money for the MPA it sold,

injected and administered to him.

       257.    The O’Connell Defendants acted as the seller or distributor of the MPA

compounded by NECC when it sold and administered the methylprednisolone to Decedent.

       258.    The O’Connell Defendants were engaged in the business of selling MPA

compounded by NECC.

       259.    The purpose and manner of the Decedent’s use of the MPA was intended and

reasonably foreseeable by the O’Connell Defendants.

       260.    Accordingly, the O’Connell Defendants are “sellers” as defined by New

Hampshire law.

       261.    The O’Connell Defendants, as a “seller”, had a duty to make inspections or tests

that are reasonably necessary to see that the MPA was safe for its intended use and for any other

reasonably foreseeable purpose.

       262.    New Hampshire law authorizes Plaintiff to prosecute product liability claims

against the O’Connell Defendants as the seller of the MPA injected into Decedent’s spine.




                                               60
           Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 61 of 65



         263.   The MPA that the O’Connell Defendants injected into Decedent’s spine was

unreasonably dangerous and defective at the time it left the O’Connell Defendants’ control

because it was contaminated with lethal pathogens.

         264.   Specifically, the MPA was in defective condition and unreasonably dangerous at

all relevant times, because it was unsafe for normal or anticipated handling.

         265.   The methylprednisolone sold, distributed, administered, and injected into

Decedent’s spine was neither merchantable, nor fit for the purposes for which it was produced

and sold. Accordingly, the O’Connell Defendants breached their warranties, both express and

implied, as stated in RSA 382-A:2-101 et seq., including their warranty of fitness for a particular

purpose.

         266.   The O’Connell Defendants are strictly liable for the harms, losses, injuries, and

damages caused by the unreasonably dangerous and defective MPA injected into Decedent’s

spine.

         267.   As a direct and proximate result of the O’Connell Defendants’ acts and

omissions, Decedent suffered, inter alia, a meningeal infection, which caused him to suffer a

compromised immune system, extreme pain, physical disability, emotional distress, and eventual

cerebrovascular accident and death at age 29, as outlined herein.

         268.   The O’Connell Defendants’ conduct set out above was wanton, malicious, or

oppressive thus warranting the imposition of enhanced compensatory damages and/or punitive

damages as allowed by the MDL.

         WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,

on Count IX of this Complaint, in an amount that will justly compensate for the damages,




                                                61
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 62 of 65



together with interest, costs and his attorney fees incurred in this action, all within the

jurisdictional limits of this Court.

                         COUNT X - NEGLIGENT MISREPRESENTATION

          269.   Plaintiff hereby repeats, realleges, and incorporates by reference each and every

factual allegation set forth in the preceding Paragraphs as though fully and completely set forth

herein.

          270.   The O’Connell Defendants negligently misrepresented facts, including but not

limited to those related to the safety and fitness for use of the MPA it injected into Decedent’s

spine.

          271.   The O’Connell Defendants’ negligent misrepresentations were made for the

purpose of inducing the Decedent to act.

          272.   The O’Connell Defendants’ misrepresentations were made with respect to facts

that were material to the transaction.

          273.   The O’Connell Defendants’ representations were not true.

          274.   Decedent reasonably and justifiably relied on the O’Connell Defendants’

misrepresentations.

          275.   As a direct and proximate result of the O’Connell Defendants’ acts and

omissions, Decedent suffered, inter alia, a meningeal infection, which caused him to suffer a

compromised immune system, extreme pain, physical disability, emotional distress, and eventual

cerebrovascular accident and death at age 29, as outlined herein.

          276.   The O’Connell Defendants’ conduct set out above was wanton, malicious, or

oppressive thus warranting the imposition of enhanced compensatory damages and/or punitive

damages as allowed for by the MDL.



                                                  62
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 63 of 65



          WHEREFORE, Plaintiff demands judgment against Defendants on Count X of this

Complaint, in an amount that will justly compensate for the damages, together with interest, costs

and her attorney fees incurred in this action, all within the jurisdictional limits of this Court.

                            COUNT XI – BREACH OF CONTRACT

          277.   Plaintiff hereby repeats, realleges, and incorporates by reference each and every

factual allegation set forth in the preceding Paragraphs as though fully and completely set forth

herein.

          278.   The O’Connell Defendants had a contractual obligation to Plaintiff, through

Decedent, by virtue of N.H.R.S.A. 151:21 and by way of their promise to provide safe and

reasonable medical care and treatment to their patients including, but not limited to, to achieve the

result of alleviating and/or reducing Decedent’s pain, and not to infect him with a disease.

          279.   Nevertheless, the O’Connell Defendants breached their said contractual obligations

as set out herein.

          280.   As a direct and proximate result of the O’Connell Defendants’ acts and

omissions, Decedent suffered, inter alia, a meningeal infection, which caused him to suffer a

compromised immune system, extreme pain, physical disability, emotional distress, and eventual

cerebrovascular accident and death at age 29, as outlined herein.

          WHEREFORE, Plaintiff demands judgment against the O’Connell Defendants, jointly

and severally, on Count XI of this Complaint, in an amount that will put the Plaintiff in the same

position as she would have been in had the O’Connell Defendants fully performed the terms of

their agreement and to justly compensate for the damages, together with interest, costs and her

attorney fees incurred in this action, all within the jurisdictional limits of this Court.




                                                   63
               Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 64 of 65



                              COUNT XII – LOSS OF CONSORTIUM

          281.     Plaintiff hereby repeats, realleges, and incorporates by reference each and every

factual allegation set forth in the preceding Paragraphs as though fully and completely set forth

herein.

      282.        During part of his illness and at the time off his death, the Plaintiff was the wife of

Decedent.

      283.        As a direct and proximate result of the O’Connell Defendants’ acts and omissions,

Decedent suffered, inter alia, a meningeal infection, which caused him to suffer a compromised

immune system, extreme pain, physical disability, emotional distress, and eventual

cerebrovascular accident and death at age 29, as outlined herein.

      284.        As a direct and proximate cause and result of Decedent’s death, Plaintiff lost her

familial relationship with her husband Chevy, including the loss of comfort, society, affection,

guidance, and companionship with Chevy, and is entitled to recover those damages provided by

RSA 556:12,II, as well as any and all other damages allowable under New Hampshire law.

                                   VIII – PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for relief against all Defendants, in all Counts set forth

above, as follows:

          A.       Compensatory damages, in excess of the amount required for federal diversity

jurisdiction and in an amount to fully compensate Plaintiff for all her injuries and damages, both

past and present;

          B.       Special damages, in excess of the amount required for federal diversity

jurisdiction and in an amount to fully compensate Plaintiff for all of her injuries and damages,

both past and present, individually, and to fully compensate the Estate for the injuries and



                                                    64
            Case 1:15-cv-00266-AJ Document 1 Filed 07/09/15 Page 65 of 65



damages sustained by the Decedent, including but not limited to, past and future medical

expenses, lost income, pain and suffering, death, and loss of enjoyment of life;

       C.       Exemplary damages;

       D.       Punitive damages as allowed by law;

       E.       Attorneys’ fees, expenses, and costs of this action;

       F.       Loss of consortium damages, where appropriate, and where allowed by RSA

556:12,II or otherwise allowed under New Hampshire law;

       G.       Pre and post-judgment interest in the maximum amount allowed by law; and

       H.       Such further relief as this Court deems necessary, just, and proper.

                                      IX. JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury.



       As discovery is ongoing, the Plaintiff expressly reserves the right to amend and/or

supplement this Complaint for Damages and Demand for Jury Trial.

                                              Respectfully Submitted,

                                              SARAH A. KATZ, BOTH INDIVIDUALLY
                                              AND AS ADMINISTRATRIX OF THE
                                              ESTATE OF CHEVY KATZ, F/K/A CHEVY
                                              WILDE

                                              By Her Attorneys,

                                              RILEE & ASSOCIATES, P.L.L.C.

Date: July 9, 2015                      By: /s/ Cyrus F. Rilee, III_____________
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                                                65
